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                  UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF MICHIGAN

In the Matter of:

LORETTA BORCZAK,                                      Case No. 17-04435-swd
(Social Security No. ***-**-0935)                     Chapter 7
                                                      Hon. Scott W. Dales
            Debtor.
___________________________/
MICHIGAN UNEMPLOYMENT                                 Adversary Proceeding No.
INSURANCE AGENCY,                                     17-80200-swd
                                                      Hon. Scott W. Dales
             Plaintiff,
v.

LORETTA BORCZAK,

            Defendant.
___________________________/

                              CONSENT JUDGMENT

      The parties having stipulated to the resolution of this adversary proceeding,

and the Court being fully advised in the premises,

      IT IS ORDERED that Defendant’s debt to the Plaintiff in the amount of

$7,744.11 is nondischargeable under 11 U.S.C. § 523(a)(2) and Cohen v. de la Cruz,

523 U.S. 213, 118 S. Ct. 1212 (1998).

      IT IS FURTHER ORDERED that Plaintiff is awarded $350.00 in filing fees.

      IT IS FURTHER ORDERED that judgment is entered in the amount of

$8,094.11 for the nondischargeable debt plus filing fees.

      IT IS FURTHER ORDERED that the parties agree to a consent amount of

$3,369.11 (consisting of $1,575.00 in restitution, $1,575.00 in penalties, $169.11 in

interest, and $350.00 in filing fees, minus $300.00 collected).
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      IT IS FURTHER ORDERED that Defendant will make timely and consistent

payments of $100.00 per month on until the consent amount is paid in full.

Defendant’s payments shall start no later than March 1, 2018, and shall be paid

monthly at the beginning of each month until the consent amount is paid in full.

Defendant shall send checks or money orders made payable to the “State of

Michigan” to the following address:

      State of Michigan
      Unemployment Insurance Agency-Restitution
      Dept. #771760
      P.O. Box 77000
      Detroit, MI 48277-1760

      IT IS FURTHER ORDERED that future statutory interest will accrue on the

restitution portion of the debt at a rate of 1% per month under Mich. Comp. Laws §

421.15, until the restitution owed is paid in full, or until the interest is capped at

50% of the amount of restitution, as provided in Mich. Comp. Laws § 421.15.

      IT IS FURTHER ORDERED that Plaintiff may also recoup and/or intercept

Defendant’s federal and state tax refunds for payment toward the consent amount,

in addition to the monthly payments made by Defendant. Any failure to recoup and

intercept tax refunds is not a waiver of the right to recoup or intercept.

      IT IS FURTHER ORDERED that, if Defendant pays the consent amount in

full and without uncured default in accordance with the terms set forth above, the

debt shall be deemed satisfied in full, as a full accord and satisfaction, and Plaintiff

will cancel the balance between the judgment amount and the consent amount.
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         IT IS FURTHER ORDERED that, if the Defendant fails to make monthly

 payments in accordance with the terms of this Consent Judgment, Defendant shall

 be considered to be in default, and Plaintiff shall serve a notice of default by first-

 class mail upon Defendant. Defendant shall then have 15 days from the mailing

 date of the notice to cure such default. If Defendant does not cure the default, the

 judgment amount will be accelerated, the judgment amount (minus any payments

 made) will be imposed, and Plaintiff may collect the balance of the judgment

 through methods allowed under the Michigan Employment Security Act, Mich.

 Comp. Laws § 421.1, et seq., including liens, garnishments, levies, attachments,

 recoupment of future unemployment benefits, and interception of federal and state

 tax refunds.

         IT IS FURTHER ORDERED that the mailing of correspondence, including

 but not limited to monthly statements and notices, by Plaintiff to Defendant shall

 not be a breach by Plaintiff of any term or condition, express or implied, contained

 in this Consent Judgment. Defendant agrees to make a good faith effort to resolve

 any issues arising under this Consent Judgment by first contacting both Plaintiff

 and Plaintiff’s counsel.

         IT IS FURTHER ORDERED that Plaintiff may mail or otherwise provide a

 copy of this Consent Judgment, upon entry of same by the Court, directly to the

 Defendant.




IT IS SO ORDERED.
Dated January 24, 2018
